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ATTORNEYS FOR THE DEBTORS
AND DEBTORS-IN-POSSESSION

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
_____________________________________
In re:                                §       Chapter 11
                                      §
NGV GLOBAL GROUP, INC., et al.,1      §       Case No. 22-42780-MXM-11
                                      §
            Debtors.                  §       (Jointly Administered)
                                      §
____________________________________ §

      STIPULATION OF DEBTORS AND FIRSTCAPITAL BANK OF TEXAS, N.A.
    REGARDING FINAL ORDER GRANTING DEBTORS’ EMERGENCY MOTION FOR
     ENTRY OF INTERIM AND FINAL ORDERS AUTHORIZING THE USE OF CASH
            COLLATERAL AND GRANTING ADEQUATE PROTECTION

         Pursuant to paragraph 16 of the Final Order Granting Debtors’ Emergency Motion for

Entry of Interim and Final Orders Authorizing the Use of Cash Collateral and Granting Adequate

Protection [Docket No. 105] (the “Cash Collateral Order”)2, NGV Global Group, Inc. (“NGV

Global”), Natural Gas Vehicles Texas, Inc. (“NGV Texas”), Natural Gas Supply, LLC (“NGS”), and

Natural Gas Logistics Inc. (“NGL”, and collectively with NGV Global, NGV Texas, and NGS, the




1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: NGV Global Group, Inc. (9723), Natural Gas Vehicles Texas, Inc. (8676), Natural Gas Supply, LLC
(4584) and Natural Gas Logistics Inc. (5403).
2 Capitalized
            terms used herein and not otherwise defined shall have the meanings ascribed to such terms in the
Cash Collateral Order.



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“Debtors”), as debtors and debtors-in-possession, and FirstCapital Bank of Texas, N.A. (the

“Bank”) hereby stipulate and agree as follows:

         1.    Paragraph 16 of the Cash Collateral Order provides for termination of the Debtors’

right to use Cash Collateral on March 31, 2023, unless extended by agreement.

         2.    The Debtors and the Bank hereby agree to the extension of the Debtors’ right to

use Cash Collateral pursuant to the terms of the Cash Collateral Order until further Order of the

Court.

         3.    The Debtors and the Bank agree that the deadline as provided in paragraph 13 of

the Cash Collateral Order regarding the sale of LNG tanks is extended through and including

June 30, 2023.

         4.    The Debtors hereby agree that they will use their best efforts to seek Court

approval to sell, on or before June 30, 2023, at least sixty (60) of the school busses that serve as

collateral for Debtors’ obligations to the Bank, and to pay the net proceeds of such sale(s) (after

payment of ad valorem taxes and costs of sale) to the Bank towards satisfaction of such

obligations.

         5.    The Bank hereby agrees to the Budget attached hereto as Exhibit “A,” which

includes (a) an adequate protection payment to the Bank of $15,000 on or about April 25, 2023,

(b) an adequate protection payment to Mitsubishi HC Capital America, Inc. of $10,000 on or about

April 1, 2023, and (c) adequate protection payments to Ford Motor Credit Company LLC (“Ford”)

of $38,733.33 on or about April 20, 2023 and April 25, 2023.

         6.    The Bank hereby agrees to Subsequent Budgets which include monthly adequate

protection payments to the Bank of $15,000 and to Ford of $38,733.33. Except as provided

herein, Subsequent Budgets shall be subject to the terms of the Cash Collateral Order.

                           (Remainder of page intentionally left blank)




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Dated: March 22, 2023


Stipulated and Agreed:

 /s/ Lynda L. Lankford                                                  /s/ C. Jared Knight
 Jeff P. Prostok                                                        C. Jared Knight
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 Lynda L. Lankford                                                      Bailey Hartman
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 ATTORNEYS FOR THE DEBTORS
 AND DEBTORS-IN-POSSESSION                                              ATTORNEYS FOR FIRSTCAPITAL BANK
                                                                        OF TEXAS, N.A.




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                            Exhibit A




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COMBINED
                          Week              21           22           23            24          25
                          Ending     4/7/2022    4/14/2022    4/21/2022     4/28/2022    5/5/2022
A/R Collections                      691,984        73,171      210,692       116,023    691,984
Other collections                      46,562        1,647          ‐             ‐        46,562
Total Receipts                       738,546        74,818      210,692       116,023    738,546




Operating Costs
Payroll                               120,000     370,000      120,000       370,000      120,000
Fuel, tolls and road costs             11,500      41,651        1,500        65,500       11,500
Insurance                                 ‐           ‐            ‐         124,219          ‐
Occupancy                                 ‐           ‐            ‐          64,157          ‐
Parts, repairs and supplies               ‐           ‐            ‐          57,500          ‐
Taxes and licenses                        ‐           ‐            ‐           4,106          ‐
CAPEX
Other                                     ‐            ‐            ‐          9,640            ‐
Mike Albert, Ltd.                         ‐            ‐            ‐         25,000            ‐
Intercompany Transfers                    ‐            ‐            ‐            ‐              ‐

Total Operating Costs                 131,500     411,651      121,500       720,122      131,500

Total BK and Other costs
Professional Fees                         ‐            ‐            ‐          50,000           ‐
Ford Adequate Protection                  ‐            ‐         38,733        38,733           ‐
Mitsubishi Adequate Protection         10,000          ‐            ‐             ‐             ‐
FCB Adequate Protection                   ‐            ‐            ‐          15,000           ‐
UST fees                                  ‐         37,091          ‐             ‐             ‐
                                    10,000.00    37,091.28    38,733.33    103,733.33           ‐

Affiliate contributions                   ‐            ‐            ‐        360,000            ‐

Weekly Cash flow                      597,046     (373,925)     50,458       (347,832)    607,046

Rolling Cash Balance
 Beginning Cash                       238,223      835,270     461,345        511,804     163,972
 Weekly Cash Flow                     597,046     (373,925)     50,458       (347,832)    607,046
Week Ending Cash Balance              835,270      461,345     511,804        163,972     771,018
